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                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF LOUISIANA

   IN RE:                                                      :       CASE NO. 17-12870
                                                               :
   REILLY-BENTON COMPANY, INC.                                 :       CHAPTER 7
                                                               :
            DEBTOR                                             :       SECTION A


                                                      ORDER

            Upon the Ex Parte Supplemental and Amended Application to Employ Special Local Counsel for

   Limited Purposes (“Application”) (ECF. Doc. 86) filed by David V. Adler, Chapter 7 Trustee in the above

   captioned case, seeking authority to employ Albert J. Derbes, IV and The Derbes Law Firm, LLC

   (collectively, the “Firm”) as special counsel for a limited purpose on the terms set forth in the Application,

   and the Court being satisfied that the Firm is disinterested and does not hold or represent any interest adverse

   to the estate;

            IT IS ORDERED that the employment by David V. Adler, as such trustee, of Albert J. Derbes, IV

   and The Derbes Law Firm, LLC, to represent him in this case as special counsel for a limited purpose on

   the terms set forth in the Application be, and it hereby is, approved, with compensation to be paid in such

   amounts as may be allowed by the Court upon proper application or applications therefor.

            IT IS FURTHER ORDERED that movant shall serve a copy of this Order on the required parties

   who will not receive notice through the ECF System pursuant to the Federal Rules of Bankruptcy Procedure

   and the Local Bankruptcy Rules and file a certificate of service to that effect within three (3) days.

            New Orleans, Louisiana, November 30, 2020.



                                                      MEREDITH S. GRABILL
                                                      UNITED STATES BANKRUPTCY JUDGE
